                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


In Re:

         VERNON HYNSON and
         BEVERLY HYNSON,                          In Bankruptcy
                                                  Chapter Thirteen
                            Debtors.              Case No. 12-57645 tjt
                                                  Judge Thomas J. Tucker
____________________________________


                MOTION TO SEVER CONFIRMED CHAPTER 13 CASE
               FROM JOINT DEBTOR AND CONVERT TO CHAPTER 7


              NOW COMES Debtor, Beverly Hynson, by and through her attorney, Seymour
Markowitz, and hereby moves this Honorable Court to Sever her Chapter 13 Case from her joint
debtor spouse. In support of this Motion, Debtor states the following:

              1.     Debtor Beverly Hynson is currently in a Confirmed Chapter 13
                     Bankruptcy Case jointly filed with her spouse.
              2.     Ms. Hynson can no longer continue in her Chapter 13 Plan and wishes to
                     Convert her case to Chapter 7.

              WHEREFORE, Debtor, Beverly Hynson, hereby requests this Honorable Court
Sever Beverly Hynson’s Chapter 13 Case from her spouse and Convert to Chapter 7.




_/s/SeymourMarkowitz_______________               _/s/BeverlyHynson_________________
SEYMOUR MARKOWITZ - P17094                        BEVERLY HYNSON
Attorney for Beverly Hynson                       Debtor
30400 Telegraph Road, #111
Bingham Farms, MI 48025
(248) 647-1230
bankruptcy@markowitzlegal.com
                                                  Dated: October 23, 2013.




   12-57645-tjt    Doc 64   Filed 10/23/13    Entered 10/23/13 16:58:02      Page 1 of 2
                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


In Re:

         VERNON HYNSON and
         BEVERLY HYNSON,                          In Bankruptcy
                                                  Chapter Thirteen
                            Debtors.              Case No. 12-57645 tjt
                                                  Judge Thomas J. Tucker
____________________________________


 ORDER GRANTING DEBTOR’S MOTION TO SEVER CONFIRMED CHAPTER 13
 CASE FROM JOINT DEBTOR AND ALLOWING CONVERSION TO CHAPTER 7

               The above named Debtor, Beverly Hynson, having filed a Motion to Sever her
Confirmed Chapter 13 Bankruptcy Case from the Joint Debtor, the Court being sufficiently
advised in the premises and no objections having been filed;

              IT IS HEREBY ORDERED that Beverly Hynson’s Motion is granted;

               IT IS FURTHER ORDERED that Beverly Hynson’s Chapter 13 Bankruptcy case
is hereby severed from the Joint Debtor’s Bankruptcy Case;

               IT IS FURTHER ORDERED that Beverly Hynson’s Bankruptcy Case shall be
assigned a separate Chapter 13 case number and Debtor shall file a notice of voluntary
conversion of that Chapter 13 case to a Chapter 7 and pay the required conversion fee.




   12-57645-tjt   Doc 64    Filed 10/23/13    Entered 10/23/13 16:58:02      Page 2 of 2
